         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 1 of 33




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

DEBORAH LAUFER,
         Plaintiff,

v.                                                              Case No: 3:20-cv01297-VAB


BRP ASSOCIATES, LLC,
          Defendant .

                             PLAINTIFF’S MEMORANDUM IN
                           OPPOSITION TO MOTION TO DISMISS

        Plaintiff, by and through undersigned counsel, hereby submits this Memorandum in

Opposition To Defendant’s Motion To Dismiss, filed at DE 11.

I.      Introduction

        Plaintiff is a disabled person within the meaning of the Americans With Disabilities Act,

42 U.S.C. Sections 12181, et seq. (“ADA”), and relies on a wheelchair or cane to ambulate and is

vision impaired. Laufer Declaration, Exhibit A hereto, para. 1. Plaintiff is a resident of Florida.

Id. at 1. In the past, Plaintiff encountered frustration when attempting to book rooms at a hotel

because so many online reservations systems fail to identify or allow for booking of accessible

rooms and provide little or no information about whether the features at the hotel are accessible.

In many instances, website claims of “accessibility” prove to be untrue when she arrives at the

hotel. Id. para. 3. As a result, Plaintiff is an advocate, or “tester”, for the purpose of bringing

hotel online reservations systems into compliance with the law. Id. Defendant provides the

public with booking services for its hotel through an online reservations system. (Hereinafter

“websites”, “online reservations systems” or “ORS”.) Id. at 6. The purpose of this ORS is so that



                                                   1
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 2 of 33




Defendant can reach out and market to persons all over the country and in their own homes to

solicit their patronage, provide them with information so that they can make a meaningful choice

in planning trips, and, in some instances, book a room at the hotel. As such, the Defendant’s

ORS is required to comply with the requirements of 28 C.F.R. Section 36.302(e)(1)(hereinafter

“Regulation”), by identifying and allowing for booking of accessible rooms and providing

accurate and sufficient information as to whether all the features at the hotel are accessible. On

several different occasions prior to the filing of this lawsuit, Plaintiff reviewed the online

reservations system for Defendant’s hotel and found that it did not comply with the Regulation in

any respect. Laufer Declaration, at 6. Plaintiff therefore filed the instant action for injunctive

relief pursuant to the ADA.

        Plaintiff has a system to ensure that she properly maintains standing. Id. at 8. She

maintains a list of all hotels she has sued over ORS violations. She goes through and updates

this list constantly. With respect to each hotel she sues or has sued, she revisits the hotel’s ORS

multiple times before a complaint is filed, then again shortly after the complaint is filed. Id.

Pursuant to this system, Plaintiff already revisited the hotel’s ORS. Id. at 8. When a case is

settled, she records the date when the ORS is required to be complaint and then revisits it. Id. By

this system, Plaintiff ensures that she visits each and every hotel ORS multiple times after she

has filed a complaint. Moreover, Plaintiff intends to travel to Connecticut as soon as the Covid

crisis abates. Id., para. 5. She will travel all over the State and stay in area hotels. Id. Because

this and other hotels do not comply with the Regulation, Plaintiff is deprived of the information

she needs to make a meaningful choice in planning her trip. Id.

        Defendant does not challenge the fact that it violates the law or that its online reservations


                                                   2
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 3 of 33




system discriminates against disabled persons. Rather, Defendant filed its Motion To Dismiss

claiming that plaintiff cannot have a cause of action unless she stayed at or intended to book a

room at the hotel. Defendant also argues that there is no private right of action for violations of

the Regulation. For the reasons below, Defendant’s arguments are without merit.

II.     The Applicable Standard

        Defendant’s motion is based on Fed. R. Civ. Pro. 12(b)(1) and 12(b)(6).

        In instances where the jurisdictional challenge is under Fed. R. Civ. P. 12(b)(1), the issue

is whether “the jurisdictional dispute is interwoven with the underlying merits” of the dispute.

Dorchester Fin. Sec, Inc. v. Banco BRJ, S.A., 722 F.3d 81, 87 (2nd Cir. 2013). In that event, the

District Court must apply the standards of Rule 56 (applicable to summary judgment) or to

12(b)(6) or leave that issue for trial. Id. In the case at bar, the issue is whether or not Plaintiff has

suffered an injury-in-fact that is actionable under several provisions of the ADA’s statute and

Regulation. Thus, Defendant’s challenges go to the very heart of the merits of Plaintiff’s federal

cause of action. For that reason, a credibility determination is inappropriate, as the Court must

convert the motion to one of either 12(b)(6) or 56. If a court is going to disbelieve the plaintiff on

the issue of standing, it cannot be in the context of a rule 12(b)(1) motion, but must be pursuant

to the factfinding process. Brooke v. Kashl Corp., 362 F. Supp.3d 864, 876 (S.D. Ca. 2019).

        The standard applicable to Fed. R. Civ. P. 12(b)(6) is as follows:

        In considering a motion to dismiss under Rule 12(b)(6), the Court must "accept as true all
        of the factual allegations contained in the complaint." Erickson v. Pardus, 551 U.S. 89,
        94 (2007) (per curiam); see also Nielsen v. Rabin, 746 F.3d 58, 62 (2d Cir. 2014) ("In
        addressing the sufficiency of a complaint we accept as true all factual allegations . . . ."
        (quotation marks omitted)). Further, "[f]or the purpose of resolving [a] motion to dismiss,
        the Court . . . draw[s] all reasonable inferences in favor of the plaintiff." Daniel v. T & M
        Prot. Res., Inc., 992 F. Supp. 2d 302, 304 n.1 (S.D.N.Y. 2014) (citing Koch v. Christie's


                                                    3
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 4 of 33




       Int'l PLC, 699 F.3d 141, 145 (2d Cir. 2012)).

Wood v. Byrd, 2020 U.S. Dist. LEXIS 19838, *9 (S.D. N.Y. 2020).

       The standard applicable to Fed. R. Civ. P. 56 is as follows:

       A court must grant summary judgment where "the movant shows that there is no genuine
       dispute as to any material fact and the movant is entitled to judgment as a matter of law."
       Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-23, 106 S. Ct.
       2548, 91 L. Ed. 2d 265 (1986); Holt v. KMI-Continental, Inc., 95 F.3d 123, 128 (2d Cir.
       1996). The moving party bears the burden of showing that no genuine issue of material
       fact exists. Adickes v. S.H. Kress & Co., 398 U.S. 144, 157, 90 S. Ct. 1598, 26 L. Ed. 2d
       142 (1970). Accordingly, the Court "must view the evidence in the light most favorable to
       the party against whom summary judgment is sought and must draw all reasonable
       inferences in his favor." L.B. Foster Co. v. Am. Piles, Inc., 138 F.3d 81, 87 (2d Cir. 1998)
       (citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct.
       1348, 89 L. Ed. 2d 538 (1986)); see Brown v. Henderson, 257 F.3d 246, 251 (2d Cir.
       2001).

Kinney v. Artist & Brand Agency LLC, 2015 U.S. Dist. LEXIS 160465, ** 33-34 (S.D. N.Y.

2015). In accordance with the above caselaw and standards, a credibility determination is

improper and all pleadings and statements made by Plaintiff must be taken as true and all

reasonable inferences be made in her favor. As required by this standard, this Court must accept

as true Plaintiff’s statements in her pleadings and in her Affidavit that she intends to revisit the

Defendant’s online reservations system in the near future, that she has in fact revisited it, and that

she has a system of ensuring that she revisits the online reservations systems of all hotels she

sues. This Court must also accept as true that Plaintiff intends to travel throughout the State of

Connecticut in the near future and stay in area hotels and that the defendant’s failure to comply

with the Regulation deprives her of the ability to make an informed decision in comparing hotels

and their features.

III.   The Pleadings Are Sufficient



                                                  4
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 5 of 33




       Many courts have upheld the sufficiency of virtually identical pleadings and have rejected

challenges against their sufficiency. See, e.g., Kennedy v. New Yorker Hotel Miami, LLC, 18-

62897, DE 34 (S.D. Fla. 6/6/19); Kennedy v. Patel Brothers, Inc., 19-60613, DE 23 (S.D. Fla.

6/6/19); Kennedy v. Guru Krupa, Inc., 0:18-cv-63088-WPD, DE 18 (S.D. Fla. 2/26/19)(denying

motion to dismiss); and Kennedy v. Murnane, et al., 0:18-cv-63086-WPD, DE 10 (S.D. Fla.

3/5/19)(denying motion to dismiss); Parks v. Richard, 2020 U.S. Dist. Lexis 86790 (M.D. Fla.

2020)(holding virtually identical pleadings to be sufficient). Numerous courts have also

considered such allegations as sufficient when they granted default judgment. See Kennedy v.

Yaish & Tish Ltd., LLC, 19-cv-61992-RAR, DE 14 (S.D. Fla. 9/27/19); Kennedy v.

Londamerican Real Estate Ltd., 19-cv-61228-SMITH/VALLE, DE 18 (S.D. Fla. 8/21/2019);

Kennedy v. Guruhari Hospitality, LLC, 0:19-cv-61139-WPD, DE 18 (S.D. Fla. 7/11/2019);

Kennedy v. Moreno, 19-60550-CIV-ALTMAN, DE 20, (S.D. Fla. 6/26/2019); Kennedy v.

Pacifica Tampa Ltd Partnership, 5:17-cv-442-JSM-PRL, DE 7 (M.D. Fla. 1/25/18). Kennedy v.

Fernandez, 19-60876, DE 18 (S.D. Fla. 6/11/2019); Kennedy v. Astoria Hotel Suites, LLC, 19-

cv-60160, DE 17 (S.D. Fla. 3/22/19); Kennedy v. Dockside View, LLC, 2:18-cv-14444-KAM

(S.D. Fla. 1/19/19); Kennedy v. Cape Siesta Motel, LLC, 18-81811, 0:18-cv-61811-MGC, DE 20

(S.D. Fla. 1/18/2019); Kennedy v. Shivnit, Inc., 0:18-cv-63094-UU, DE 12 (S.D. Fla. 1/30/19);

Kennedy v. Terrace Park Suites, LLC, 0:19-cv-60012-DPG (S.D. Fla. 3/21/19); Kennedy v. Shree

Ram Jalaram, Inc., 19-60708, DE 13 (S.D. Fla. 4/18/2019).

       The liberal pleading standard applicable to Fed. R. Civ. P. 8(a) requires only "a short and

plain statement of the claim showing that the pleader is entitled to relief," in order to ‘give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests,’‘ Bell Atl.


                                                  5
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 6 of 33




Corp. v. Twombly, 550 U.S. 544, 555 (2007). It is therefore unnecessary that Plaintiff allege in

her pleadings her reason for reviewing Defendant’s discriminatory online reservations system.

IV.    Defendant’s Argument Is Without Merit

       Defendant argues that a disabled plaintiff cannot have a cause of action for encountering a

hotel’s discriminatory online reservations system unless he/she intends to physically visit the

hotel. Defendant cites ONLY ONE case that supports this proposition and Defendant completely

ignores the overwhelming slew of cases, on point, in which numerous courts have considered and

rejected Defendant’s theory. The entire foundation of Defendant’s main argument is misplaced

because Defendant fails to understand the nature and locus of the injury. Defendant’s entire

theory is based on the mistaken proposition that the plaintiff can only suffer past and future

injury-in-fact AT the physical property by encountering physical barriers to access or that

plaintiff cannot have a cause of action for encountering a discriminatory website unless she

intended to book a room at the hotel. (Hereinafter “physical nexus” requirement.) In support of

its theory, Defendant cites authorities that involve discrimination encountered at physical

properties, such as Harty v. Greenwich Hosp. Group, LLC, 2012 WL 12895766 (D. Conn.), aff’d

536 Fed. Appx. 154 (2nd Cir. 2013)(unpublished opinion), Norkunas v. Park Rd. Shopping Ctr.,

Inc., 777 F.Supp2d 998 (W.D.N.C., 2011), aff’d, 474 F. Appx. 369 (4th Cir. 2012), and

Camarillo v. Carrols Corp., 518 F.3d 153 (2d Cir. 2008) . These cases, as one court noted, are

entirely irrelevant to analyzing standing in cases involving website discrimination. Camacho v.

Vanderbilt University, 2019 WL 6528974 at p. 11, 2019 U.S. Dist. Lexis 209202 (S.D.N.Y.

2019). The reason why such cases are entirely irrelevant is because, in physical barrier cases such

as Greenwich Hosp., the injury is only suffered AT the physical property. In Greenwich Hosp.,


                                                 6
             Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 7 of 33




the plaintiff was at the physical property when he suffered discrimination in the first instance,

and must return to the physical property to suffer discrimination again. By stark contrast, in cases

involving discriminatory hotel online reservations systems, the injury is suffered in the plaintiff’s

own home then they review the website on their own computer.

        Defendant ignores the vast body of authorities which have considered and rejected

Defendant’s arguments. The arguments raised by Defendant have been raised numerous times by

others, and have been universally rejected. In Parks v. Richard, 2020 U.S. Dist. Lexis 86790

(M.D. Fla. 2020), one court in the Middle District of Florida rejected the defendant’s argument

that the plaintiff needed to intend to book a room at the hotel. First, the court held that the

plaintiff sufficiently “alleged he suffered an injury in fact by encountering barriers that violate the

ADA.” Id., at **4-5. The court directly rejected the defendant’s argument that the plaintiff lacked

standing because he never visited or intended to visit the hotel. The court held that the:

        ADA claim is based upon [defendant's] website failing to identify the accessible features
        of the motel and its rooms, in violation of 28 C.F.R. § 36.302(e)(1)(ii). Therefore, the
        relevant 'future injury' inquiry relates to the motel's website and reservation system, rather
        than the motel's physical property." [Citation omitted.] While Parks may have never
        visited the motel, he visited its website and several third-party sites.

Id. at *7.

        In Kennedy v. Gold Sun Hospitality, LLC, 8:18-cv-842-T-33CPT, DE 23, at pp. 30-31,

(M.D. Fla. June 18, 2018), a court in the Middle District rejected a physical nexus argument,

holding that the plaintiff’s injury occurred in the comfort of her own home when she visited

defendant’s discriminatory hotel website. In Kennedy v. Swagath Hospitality, LLC, 0:19-cv-

60583-DPG, DE 27 (S.D. Fla. 1/2/2020), another court rejected the defendant’s physical nexus

argument, stating:


                                                  7
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 8 of 33




       Plaintiff alleges that (1) she visited Defendant's website to ascertain whether it met the
       requirements of 28 C.F.R. Section 36.302(e), (2) she intends to return to the website to
       test it for compliance and/or to reserve a guest room, and (3) Defendant's failure to
       comply with the Americans with Disabilities Act ("ADA") is ongoing and harmful to
       her..... Based on these allegations, the Court finds that Plaintiff has sufficiently alleged an
       injury-in-fact and an intent to the return to the website in the future.

       In Kennedy v. Galleon Resort Condominium Assn, Inc., et al., 19-cv-62421-CMA, DE 52

(S.D. Fla. 1/28/20), another district court rejected the defendant’s arguments (filed at DE 39) that

a physical nexus was required between a discriminatory ORS and the physical hotel.

       In Kennedy v. WGA, 2:19-cv-0095-RWS, DE 16, p. 9 (N.D. Ga. 11/5/2019), another court

rejected a defendant’s argument (filed at DE 5) that the plaintiff lacked standing because she did

not intend to use the discriminatory ORS to book a room. As the court put it: “[Defendant]’s

argument [] centers on whether [plaintiff] suffered a concrete and particularized injury only from

visiting [the hotel’s] website and not the physical premises. DE 16, at pp. 7-8. In rejecting the

defendant’s argument, the court held that: “visiting the website suffices” and that “a plaintiff’s

inability to fully and effectively use an establishment’s website constitutes an injury-in-fact.” Id.

at 9. The court further stated:

       [T]he Court finds that [plaintiff] has sufficiently alleged an injury-in-fact as a result of
       visiting Lakeside’s deficient website under 28 C.F.R. § 36.302(e)(1)(ii). She visited the
       website to review and assess the accessible features of the Lakeside Inn. Because the
       website lacked the requisite information, she could not determine whether the physical
       location met her accessibility needs. Lakeside thus deprived her of the services otherwise
       available to the general public. These allegations are sufficient to establish a past injury
       for the purposes of standing.
       ....
       As with the past injury, the Court has previously held in a different context that alleging
       an intent to return to a website that threatens continued exposure to discrimination is
       sufficient to establish a threat of future injury. [Citation omitted.] Given the finding above
       that the alleged injury stems from [plaintiff’s] visiting Lakeside’s deficient website, the
       Court finds that the relevant inquiry is whether she is likely to return to the website again.



                                                  8
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 9 of 33




Id. at 9-10, 12.

        In Poschmann v. Fountain TN, LLC, 2019 U.S. Dist. Lexis 159417, **4-6 (M.D. Fla.

2019), another court rejected similar arguments that intent to visit the hotel’s website, alone, was

insufficient. The court held that the plaintiff’s ADA claim was based on the discriminatory

website and, “[t]herefore, the relevant "future injury" inquiry relates to the motel's website and

reservation system, rather than the motel's physical property.” Id.

        In Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. Lexis

87457. *8 (S.D. Fla. 2018), a court recognized the plaintiff’s motive for returning to the

discriminatory website as either “ to determine whether the Hotel is accessible to him, and, if so,

to reserve a room at the Hotel or to test the Hotel's Website reservation system for its compliance

with the ADA.” (Emphasis added.) By inclusion of the word “or” the court held that motive to

review the website solely to test it was sufficient and that intending to book a room is not

required. The court further held that plaintiff’s injury in fact is demonstrated by the non-

compliance of the hotel’s website. Id. Other courts rejected the defendants’ arguments that the

plaintiff lacked standing unless she intended to book a room at the hotel. See Kennedy v. New

Yorker Hotel, Miami, LLC, 0:18-cv-62897-WPD, DE 34 (6/6/19); Kennedy v. Murnane, et al.,

0:18-cv-63086-WPD, DE 10 (S.D. Fla. 3/5/19); Kennedy v. Italia, LLC, 0:19-cv-61938-MGC,

DE 35 (S.D. Fla. 8/10/20)(rejecting physical nexus argument made at DE 17).

        In Kennedy v. Nila Investments, LLC, 2:19-cv-90-LGW-BWC, DE 34 (S.D. Ga. 7/1/20),

another court found that the plaintiff suffered discrimination when she visited the non-compliant

ORS. “for the purpose of assessing the accessibility features of the property and to ascertain

whether those sites met her accessibility needs as well as the requirements of 28 C.F.R. §


                                                  9
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 10 of 33




36.302(e)(1).” Id. at p. 5. Numerous other courts have held that a disabled person suffers injury-

in-fact when they visit a hotel’s discriminatory online reservations system. See Kennedy v. Sai

Ram Hotels, LLC, 2019 U.S. Dist. LEXIS 80111, *4-6 (M.D. Fla. 5/13/19), citing Honeywell v.

Harihar Inc., 2018 U.S. Dist. LEXIS 203740,(M.D. Fla. Dec. 3, 2018) (holding plaintiff's

allegations that she visited defendant's website but was unable to independently ascertain the

accessible features were sufficient to allege an injury-in-fact); Kennedy v. Floridian Hotel, Inc.,

2018 U.S. Dist. LEXIS 207984, at *9 (S.D. Fla. 2018) ("[T]he Court finds that Plaintiff has

shown that she suffered an injury-in-fact when she encountered the ADA violations on the

Website."). Poschmann v. Liberty Inn Motel, LLC, 2:18-cv-14348, ECF No. 17 at 4-5 (S.D. Fla.

Jan. 23, 2019)(court issued ruling on venue holding that injury occurred in plaintiff’s home when

he visited hotel’s discriminatory online reservations system); Brooke v. Hotel Inv. Grp., Inc.,

2017 U.S. Dist Lexis 150717, * 6 (D. Ariz. 2017)(holding that the plaintiff suffered injury when

she visited the hotel’s discriminatory ORS and this occurred where she was located when she

reviewed the website); Brooke v. Regency Inn-Downey, LLC, 2017 U.S. Dist. Lexis 150716 (D.

Ariz. 2017)(same). This injury occurs in the comfort of the plaintiff’s own home. Gold Sun, at

pp. 30-31 (plaintiff’s injury occurred in comfort of her own home when she visited defendant’s

discriminatory hotel website). Numerous additional cases support the proposition that viewing a

discriminatory commercial website constitutes injury in the context of vision impairment based

claims. See, e.g. Carroll v. Fedfinancial Fed. Credit Union, 324 F. Supp. 3d 658, 664 (E.D. Va.

2018); Access Now, Inc. v. Otter Prods., LLC, 280 F. Supp. 3d 287, 294 (D. Mass. 2017); Jones

v. Piedmont Plus Fed. Credit Union, No. 1:17-CV-5214- RWS, 2018 WL 4694362, at *1 (N.D.

Ga. Sept. 26, 2018) (“Plaintiff suffered a concrete injury when he attempted to access the


                                                 10
           Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 11 of 33




website but was unable to fully and effectively utilize it.”); Jones v. Family First Credit Union,

No. 1:17-CV-4592-SCJ, 2018 WL 5045231, at *4 (N.D. Ga. Aug. 6, 2018) (explaining that the

inability to determine a public accommodation’s accessibility information via its website

constitutes an injury-in-fact because it is “direct exposure to differential treatment of a person

with a disability.”). For example, in Camacho v. Vanderbilt Univ., 2019 U.S. Dist. Lexis 209202,

*30 (S.D.N.Y. 2019), one court rejected the notion that the plaintiff’s possible visit to the subject

property was at issue, holding:

       Plaintiff has claimed that he was denied access to the Website, not Defendant's physical
       location itself. Thus, Defendant need not have shown that he intended to "return" to
       Defendant's school in Nashville, Tennessee. He is only required to have established a
       reasonable inference that he intended to return to the Website...

       In addition to Camacho, many courts have held the Proximity Test 1 was less applicable

(or completely inapplicable) to ORS cases. For example, in Parks, 2020 U.S. Dist. Lexis 86790

at *6, the court ruled that the long distance between the hotel and the plaintiff’s home weighed in

the plaintiff’s favor because hotels cater to travelers from afar.2 Numerous other courts have

criticized the Proximity Test’s applicability to hotels and website discrimination cases. Gold Sun

Hospitality, LLC, 8:18-cv-842, DE 23, pp. 30-31; Kennedy v. Sai Ram Hotels, 2019 U.S. Dist.


       1
         This test considers such factors as the distance between plaintiff‘s residence and the
physical property, the plaintiff’s frequency of travel in the vicinity of the physical property, and
the plaintiff’s ties to the area of the physical property.
       2
         Numerous other courts have held that the proximity test is not applicable in the context
of hotels because hotels are, by nature, established to accommodate travelers from afar. Bodley v.
Plaza Management Corp., 550 F.Supp.2d 1085, (D. Ariz. 2008); D’Lil v. Best Western Encina
Lodge & Suites, 415 F. Supp.2d 1048, 1056 (C.D. Cal. 2006); Access 4 All, Inc. V. Wintergreen
Commercial P’ship, 2005 WL 2989307, at *4 (N.D. Tex. Nov. 7, 2005); . Access 4 All, Inc. v.
539 Absecon Blvd., 2006 WL 1804578, at *3 (D.N.J. 2006). Indeed, at least one court has ruled
that a plaintiff who lives too close to a hotel has no standing to sue for compliance. See Access 4
All, Inc. v. Thirty East 30th Street, LLC, 1:04-Civ-3683, DE 36, at 17 (S.D. N.Y. 12/11/06).

                                                 11
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 12 of 33




Lexis 80111, * 9 (M.D. Fla. 2019). Another court has held that the Proximity test not applicable

to commercial websites (in vision impaired discrimination) because (1) website cases do not

involve physical locations; and (2) no travel is required. Gniewkowski, et al v. Lettuce Entertain

You Enterprises, Inc., et al., 251 F. Supp.3d 908, 920 (W.D. Pa. 2017). “The relevant ‘future

injury’ inquiry relates to the [hotel’s] website and reservation system, rather than the [hotel’s]

physical property”. Sai Ram, 2019 U.S. Dist. Lexis 80111, at *11.

       Defendant cites only one case in support of its proposition that a disabled plaintiff must

intend to book a room in order to maintain a cause of action for online reservations service

discrimination: Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. Lexis 172456 (D.N.J.

2019). However, this case is substantially flawed. First, it is in conflict with the overwhelming

weight of authorities that held to the contrary. Second, it does not appear that the Hernandez

court considered the plain language of the statute, the rules of statutory construction, or the

overwhelming number of other decisions holding to the contrary, and declined to follow

applicable Supreme Court case law. Third, the Hernandez court cited two other court holdings in

support of its proposition that intent to book a room is required. However, neither opinion cited

stands for such a holding. One case cited by the Hernandez Court is Juscinska v. Paper Factory

Hotel, LLC, 2019 U.S. Dist. Lexis 92550 (S.D.N.Y. 2019). However, the Juscinska court only

noted in dicta that the plaintiff had the intention of booking a room. It never held that such an

intent was required. Noting that the plaintiff intended to book a room is far different from

holding that such intent is a requirement of the law. The second case cited by the Hernandez

Court was Poschman v. Coral Reef Of Key Biscayne Developers, Inc., 2018 U.S. Dist. Lexis

87457 (S.D. Fla. 5/22/18). However, the Poschmann decision actually stated that solely testing a


                                                 12
            Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 13 of 33




website system for compliance satisfies standing. Poschmann, 2018 U.S. Dist. Lexis 87457 at *8

(“Plaintiff intends to return to the Website within thirty days to determine whether the Hotel is

accessible to him, and, if so, to reserve a room at the Hotel or to test the Hotel's Website

reservation system for its compliance with the ADA.”)(emphasis added). By this language, the

Poschmann opinion held the exact opposite of what the Hernandez court stated. In sum, the

Hernandez decision is entirely founded on its own misreading of other cases.3

        The Hernandez Court also completely misinterpreted Havens Realty Corp. v. Coleman,

455 U.S. 363 (1982), discussed infra, by holding that it was about differential treatment rather

than the right to information. Hernandez, 2019 U.S. Dist. LEXIS 172456, at * 10. The reasoning

that Havens Realty stands only for differential treatment, rather than informational injury is

completely contrary to the weight of authorities. See Havens Realty, 455 U.S. at 373-74

(deprivation of plaintiffs’ right to truthful information is actionable injury); Federal Election

Commission v. Akins, 524 U.S. 11, 21 (1998)(citing Havens Realty on the point that “[i]ndeed,

this Court has previously held that a plaintiff suffers an ‘injury in fact’ when the plaintiff fails to

obtain information which must be publically disclosed pursuant to a statute..... “); Carello v.

Aurora Policemen Credit Union, 930 F.3d 830 (7th Cir. 2019)(“informational injury occurs when

the defendant refuses to provide the plaintiff with information that a law...entitles him to obtain




        3
         Defendant also cites Laufer v. Laxmi & Sons, LLC, No. 1:19-cv-01501 (BKS/ML), 2020
WL 2200207, at *1-5 (N.D.N.Y. May 6, 2020); Laufer v. 110 Western Albany, LLC, No. 1:19-
cv-01324 (BKS/ML), 2020 WL 2309083, at *1-2 (N.D.N.Y. May 8, 2020). Reliance on these
cases is unavailing, as neither of these courts issued any final ruling. Rather, in both cases the
court simply ordered the plaintiff to submit a brief explaining her standing.

                                                  13
           Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 14 of 33




and review for some substantive purpose.”).4

       For example, the Hernandez Court’s holding on this point is completely inconsistent with

the Second Circuit’s Opinion in Ragin v. Harry Maclowe Real Estate Co., 6 F.3d 898 (2nd Cir.

1993), discussed infra, which involved a discriminatory advertisement. Obviously, the

advertisement, placed in a newspaper, was equally visible by both Black and White persons

alike. But whereas seeing the same advertisement did not discriminate against White persons, it

did discriminate against Black. A discriminatory hotel online reservations system is no different.

V.     The Rules Of Statutory Construction Require That Defendant’s Physical Nexus
       Argument Be Rejected

       It is paramount that the plain words of the Statute and duly promulgated Regulation

govern. Several general maxims apply. “Statutory interpretation always begins with the ‘plain

language of the statute,' which [the court] consider[s] in 'the specific context in which that

language is used, and the broader context of the statute as a whole.'" In re Ames Dep't Stores,

Inc., 582 F.3d 422, 427 (2d Cir. 2009); Jiminez v. Quarterman, 555 U.S. 113, 118 (2009). If

the language is unambiguous, no further inquiry is necessary. Clark v. Astrue, 602 F.3d 140, 147


       4
         Numerous Circuit Courts have followed Havens Realty Corp. v. Coleman, 455 U.S. 363
(1982) in recognizing informational injury. Ragin v. Harry Maclowe Real Estate Co., 6 F.3d 898,
904 (2nd Cir. 1993)(black testers had standing to sue over discriminatory advertisement even
though they had no intention of renting apartment); Bensman v. United States Forest Serv., 408
F.3d 945, 955-57 (7th Cir. 2005)(surveying cases and statutes where informational injury is
recognized and actionable); Watts v. Boyd Properties, 758 F.2d 1482 (11th Cir. 1985)(tester who
had no intention of renting apartment had standing to sue for receiving misleading information
from defendant about apartment availability); Carter v. Welles-Bowen Realty, Inc. 553 F.3d 979,
989 (6th Cir. 2009)(discussing informational injury); Wilderness Soc’y v. Rey, 622 F.3d 1251,
1258-60 (9th Cir. 2010)(discussing informational injury); Tandy v. City of Wichita, 380 F3d 1277,
1290 (10th Cir. 2004)(Title II ADA tester has standing to sue for failure to provide required
information); In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74 (3rd Cir.
2016)(recognizing intangible harm as including unlawful denial of access to information subject
to disclosure).

                                                 14
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 15 of 33




(2d Cir. 2010). “Our duty is to say what statutory language means, not what it should mean, and

not what it would mean if we had drafted it.” Houston v. Marod Supermarkets, Inc., 733 F.3d

1323, 1333-34 (11th Cir. 2013), citing T-Mobile South, LLC v. City of Milton, Ga., 728 F.3d

1274, 2013 WL 4750549, at *10 (11th Cir. 2013). "We are not at liberty to rewrite the statute to

reflect a meaning we deem more desirable." Marod, 733 F.3d at 1334, citing Ali v. Fed. Bureau

of Prisons, 552 U.S. 214, 228 (2008). A court may not read words or elements into a statute that

do not appear on its face, including a requirement regarding intent. See Bates v. United States,

522 U.S. 23, 29 (1997)(a requirement of intent to defraud cannot be judicially added). A court is

“not allowed to add or subtract words from a statute." Marod, 733 F.3d at 1333-34.

       In other words, an interpreting Court must look to the plain language of the Statute and

Regulation in analyzing whether a disabled person who encounters a discriminatory ORS has a

cause of action or whether they must ADDITIONALLY intend to book a room at the hotel or

ADDITIONALLY encounter discriminatory conditions located at the physical premises. More

significantly, if such additional restrictive language is found elsewhere in the Statute, but not in

the provisions governing the case at bar, such exclusion of the restrictive language is intentional

and dispositive.

        "[W]here Congress includes particular language in one section of a statute but omits it in
       another section of the same Act, it is generally presumed that Congress acts intentionally
       and purposely in the disparate inclusion or exclusion."

INS v. Cardoza—Fonseca, 480 U.S. 421, 432 (1987); see also Patel v. McElroy, 143 F.3d 56, 60

(2nd. Cir 1997).

       Plaintiff’s claims are based on the following:

42 U.S.C. Section 12188(a) provides:


                                                 15
           Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 16 of 33




       The remedies and procedures set forth in section 2000a–3(a) of this title are the remedies
       and procedures this subchapter provides to any person who is being subjected to
       discrimination on the basis of disability in violation of this subchapter....

42 U.S.C. Section 12182(a) provides:

       (a) General rule
       No individual shall be discriminated against on the basis of disability in the full and equal
       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
       any place of public accommodation by any person who owns, leases (or leases to), or
       operates a place of public accommodation.

42 U.S.C. Section 12182(b)(2)(A) expands on the definitions of the above subsection to include:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
       such modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages, or accommodations

42 U.S.C. Section 12182(b)(2)(A)(ii).

       This latter subsection is the subject of regulations promulgated by the Department Of

Justice (“DOJ”).5 Specifically, the DOJ promulgated 28 C.F.R. Section 36.302(e)(1)(hereinafter

“Regulation”), which provides:

       (1)Reservations made by places of lodging. A public accommodation that owns, leases
       (or leases to), or operates a place of lodging shall, with respect to reservations made by
       any means, including by telephone, in-person, or through a third party -
       (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities
       can make reservations for accessible guest rooms during the same hours and in the same
       manner as individuals who do not need accessible rooms;
       (ii) Identify and describe accessible features in the hotels and guest rooms offered through
       its reservations service in enough detail to reasonably permit individuals with disabilities
       to assess independently whether a given hotel or guest room meets his or her accessibility
       needs;
       ...


       5
        The DOJ promulgated 28 C.F.R. 36.302 to carry out the provisions of the ADA.
Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. LEXIS 87457 *6
(S.D. Fla. May 23, 2018).

                                                16
           Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 17 of 33




       The Statute and Regulation are directly on point and unambiguously spell out all the

elements of a cause of action. The plaintiff’s right to injunctive relief is accorded by 42 U.S.C.

Section 12188(a), which provides that: “The remedies and procedures set forth in section

2000a–3(a) of this title are the remedies and procedures this subchapter provides to any person

who is being subjected to discrimination on the basis of disability in violation of this

subchapter...” (Emphasis added.) A disabled person who encounters a non-compliant ORS

becomes entitled to relief under this provision pursuant to two different subsections “of this

subchapter”. First, 42 U.S.C. Section 12182(a) clearly spells out a complete cause of action as

follows: “No individual shall be discriminated against on the basis of disability in the full and

equal enjoyment of the ... services ... of any place of public accommodation...” A commercial

website is a “service” of a place of public accommodation. Haynes v. Dunkin Donuts, LLC, 741

Fed. Appx. 752, 754 (11th Cir. 2018)(unpublished opinion)(describing a commercial website as a

“service” of a place of public accommodation); Nat’l Fed’n Of The Blind v. Target Corp., 452 F.

Supp. 946, 953 (N.D. Cal. 2006)(same). Because a hotel’s reservation website system is a

“service”, all that is required is that a disabled person be deprived of full and equal enjoyment of

this “service”.6 Alternatively,42 U.S.C. Section 12182(b)(2)(A) expressly provides that

“discrimination” includes a violation of 42 U.S.C. Section 12182(b)(2)(A)(ii). Because a non-

compliant ORS violates this latter subsection, it is therefore “discrimination” and thus actionable

to “any person” who encounters it.

       The rules of statutory construction mandate a finding that a physical nexus requirement



       6
         An online reservations system may also be characterized as a privilege or advantage,
also referenced in Subsection 12182(a).

                                                 17
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 18 of 33




can NOT be imposed because any language expressing this requirement is conspicuously missing

from the above cited Regulation and Statutory subsections. As set forth in the following cases,

the imposition of substantially similar requirements have been extensively considered and

rejected because they were noted to be present in other statutes or subsections, but absent from

the applicable sections or subsections governing the claims before the courts reviewing them.

       In Marod, the Eleventh Circuit held that a disabled tester has standing to pursue a Title III

ADA case for violations of 42 U.S.C. Section 12182. Generally, it held that a plaintiff’s motive

and intent are entirely irrelevant and that there is no requirement that they be a client or customer

or a bona fide customer. In this regard, the Eleventh Circuit relied on Supreme Court cases and

applied the rules of statutory construction.

       Both Marod, 733 F.3d at 1333, and PGA Tour v. Martin, 532 U.S. 661, 678-79 (2001),

held that an ADA plaintiff suing under 42 U.S.C. Section 12182(a) does not have to be a “client

or customer” of the defendant. In both cases, the Eleventh Circuit and Supreme Court noted that

a different subsection of the same statute contained a “client or customer” requirement that was

not present in the plain language of Subsection 12182(a). Therefore, both courts held, the

requirement could not be applied. Because the “client or customer” language was present in one

subsection, but missing from the subsection that governed, the requirement could not be

imposed. In PGA Tour, 532 U.S. at 678-79, the defendant had argued that the plaintiff had no

standing to sue unless he was a “client or customer” of the place of public accommodation. The

Court rejected this notion. As the Court observed, the Statute’s “client or customer” limitation

was set forth in only one Subsection of the Statute, but missing from others that governed the

case before it. Specifically, Section 12182(b)(1)(A)(iv) contained the “clients or customers”


                                                 18
           Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 19 of 33




limitation. However, the Subsection at issue in PGA Tour, namely 12182(a)7 did NOT contain

this limiting language. Therefore, the Court stated that: “clause (iv) is not literally applicable to

Title III’s general rule prohibiting discrimination against disabled individuals. Title III’s broad

general rule contains no express “clients or customers” limitation...” PGA Tour, 532 U.S. at 679

(citing Subsection 12182(a)). Therefore, as the Supreme Court observed, limiting language

contained in one Subsection of Title III cannot be applied to other Subsections of the same statute

where that language is missing. This “client or customer” analysis was similarly applied by the

Marod Court when it held that testers have standing, that they do not need to be a client or

customer, and that their motive is irrelevant. 733 F.3d at 1333-34. However, the Marod Court

additionally relied heavily on other similar opinions involving different language and applying

the rules of statutory construction.

       In Marod, the Eleventh Circuit considered other cases applying other civil rights statutes.

Among these was Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), discussed by the

Marod Court at 733 F.3d at 1330. As noted by Marod regarding Havens:

       The Supreme Court concluded that a black tester who was misinformed about the
       availability of a rental property had alleged sufficient injury-in-fact to support standing to
       sue under § 804(d) of the FHA. Id. at 374, 102 S. Ct. at 1121-22. The plaintiff-tester in
       Havens Realty never intended to rent the apartment; rather, his sole purpose was to
       determine whether the defendant engaged in unlawful practices. Id.
                In considering the tester's standing, the Supreme Court in Havens Realty explained
       that the "'the actual or threatened injury required by Art. III may exist solely by virtue of
       statutes creating legal rights, the invasion of which creates standing." Id. at 373, 102 S. Ct.
       at 1121 (alterations adopted) (quoting Warth v. Seldin, 422 U.S. 490, 500, 95 S. Ct. 2197,
       2206, 45 L. Ed. 2d 343 (1975)); see also Linda R.S. v. Richard D., 410 U.S. 614, 617 n.3, 93
       S. Ct. 1146, 1148 n.3, 35 L. Ed. 2d 536 (1973) ("Congress may enact statutes creating legal
       rights, the invasion of which creates standing, even though no injury would exist without the
       statute."). The statutory language of the relevant FHA provision, § 804(d), was therefore


       7
           Subsection 12182(a) is the same Subsection that governs the instant action.

                                                  19
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 20 of 33




       critical to the Supreme Court's decision. Havens Realty, 455 U.S. at 373, 102 S. Ct. at 1121.

Marod, 733 F.3d at 1330. The Court also noted:

       The Supreme Court therefore concluded that § 804(d) "establishes an enforceable right to
       truthful information concerning the availability of housing" and "[a] tester who has
       been the object of a misrepresentation made unlawful under § 804(d) has suffered injury
       in precisely the form the statute was intended to guard against, and therefore has standing
       to maintain a claim for damages under the Act's provisions." [Citation omitted.]
               The Supreme Court admonished "[t]hat the tester may have approached the real
       estate agent fully expecting that he would receive false information, and without any
       intention of buying or renting a home, does not negate the simple fact of injury within
       the meaning of § 804(d)." Id. at 374; 102 S. Ct. at 1121. The Supreme Court explained
       that "[w]hereas Congress, in prohibiting discriminatory refusals to sell or rent in § 804(a)
       of the Act, 42 U.S.C. § 3604(a), required that there be a 'bona fide offer' to rent or
       purchase, Congress plainly omitted any such requirement insofar as it banned
       discriminatory representations in § 804(d)." Havens Realty, 455 U.S. at 374; 102 S. Ct. at
       1122.

Marod, 733 F.3d at 1330-31 (emphasis added).

       The case at bar is substantially similar to Havens Realty. Under Havens Realty, the plain

language of the statute gave a right of action to a civil rights tester who encountered

discriminatory information about an apartment even though they did not intend to rent the

apartment. In other words, it was not necessary that the person intended to rent or visit the

physical location. Rather, encountering the discriminatory information was sufficient.

       In Marod, the Court also noted that other anti-discrimination statutes required that a

plaintiff have “bona fide” status. Marod, 733 F.3d at 1333. Because the bona fide requirement

was contained in other statutes, but not included in the applicable provisions of 42 U.S.C. 12182,

its requirement could not be imposed. Id.

       In Havens Realty, the Supreme Court applied the same rule of statutory construction,

noting that a requirement that a plaintiff be a “bona fide patron” was included in one subsection



                                                 20
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 21 of 33




of the applicable statute, but missing from the subsection that applied to the case before it.

Therefore, the bona fide requirement did not apply. Havens Realty, 455 U.S. at 374.

        In Marod, the Court stated:

        These examples illustrate that Congress has said so expressly when it wants to limit the
        class of people protected by anti-discrimination statutes to only clients or customers or to
        people of bona fide status. But Congress expressed no such limitation in the parts of Title
        III that are relevant to Plaintiff Houston's lawsuit. This absence of legislative language
        restricts our interpretation, as we are "not allowed to add or subtract words from a
        statute."

733 F.3d at 1333-34.

        The ability or inability to obtain information in violation of a statute was recognized as an

actionable injury by the Supreme Court in Akins, 524 U.S. 11, 20-25 (1998), which ruled that a

group of voters' "inability to obtain information" that Congress had decided to make public is a

sufficient injury in fact to satisfy Article III. In this regard the Supreme Court stated:

       Indeed, this Court has previously held that a plaintiff suffers an "injury in fact" when the
       plaintiff fails to obtain information which must be publicly disclosed pursuant to a
       statute. Public Citizen v. Department of Justice, 491 U.S. 440, 449, 105 L. Ed. 2d 377,
       109 S. Ct. 2558 (1989) (failure to obtain information subject to disclosure under Federal
       Advisory Committee Act "constitutes a sufficiently distinct injury to provide standing to
       sue").
524 U.S. at 21.

        In Ragin, the Second Circuit held that individuals had standing to sue under the Fair

Housing Act for the defendant’s placement of display advertising for residential apartments in

the newspaper because all the models portrayed in the ad were white people. The court noted that

the plaintiff’s had no intention of actually renting an apartment. Id., at 904. In this regard, the

Second Circuit followed Havens Realty and stated as follows:

               There is no significant difference between the statutorily recognized injury
        suffered by the tester in Havens Realty and the injury suffered by the Ragins and the


                                                  21
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 22 of 33




       Cuylers, who were confronted by advertisements indicating a preference based on race.
       [citation omitted.] Given the private attorney general provision in section 813(a) of the
       Act and the Supreme Court's holding in Havens Realty, the district court was constrained
       to find that the individual plaintiffs had standing to bring this action in federal court.

Ragin, 6 F.3d at 904.

       Under the above cited cases, an ADA plaintiff does not have to be a client or customer or

a bona fide customer and his motive or intent are entirely irrelevant. All that is required is that

they encounter discrimination within the plain meaning of the words of the statute. This includes

discrimination in the form of information without any visit or intent to visit the property which is

the subject of that information. There is no additional requirement that they intend to use or visit

the physical property, unless the applicable statutory provisions expressly say so. Thus, there is

no room left to reach an interpretation that a disabled plaintiff must intend to book a room at a

hotel, or actually visit the hotel, before s/he can have a cause of action for encountering a

discriminatory online reservations system. Any language imposing such a requirement is

completely absent. Neither the general provision of 42 U.S.C. Section 12182(a), the definition of

“discrimination” under 42 U.S.C. Section 12182(b)(2)(A)(ii), nor the Regulation contain any

such requirement. To the contrary, failure by the Defendant to make its online reservations

system compliant with the Regulation constitutes “discrimination” within the meaning of

Subsection 12182(b)(2)(A)(ii). This then is prohibited by the general provision of Subsection

12182(a) because the disabled person is deprived of full and equal access to a service. It does not

then matter whether an ADA tester intended to do anything more than what is set forth in the

statute. The words “no individual shall be discriminated against...” means that any disabled

person who encounters a discriminatory service has a cause of action, regardless of whether they



                                                  22
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 23 of 33




are a tester and regardless of their intent. Moreover, Subsection 12188's granting of injunctive

relief to “any person who is being subjected to discrimination” cannot be interpreted to impose

any requirements that would reduce “any person” to “only some people”.

       To the extent there is any room for doubt, there is in fact another subsection of the

Statute which DOES contain language imposing a physical nexus requirement. 42 U.S.C.

Section 12182(b)(2)(A)(i) prohibits:

       “the imposition or application of eligibility criteria that screen out or tend to screen out an
       individual with a disability or any class of individuals with disabilities from fully and
       equally enjoying any goods, services, facilities, privileges, advantages, or
       accommodations...” (Emphasis added.)

       This Subsection was the subject of an Eleventh Circuit decision in Rendon v. Valleycrest

Prods., 294 F.3d 1279 (11th Cir. 2002), which involved a telephone screening process for

potential contestants on Who Wants To Be A Millionare. The discriminatory telephone screening

process (“eligibility criteria”), only became actionable if it additionally screened out disabled

persons “from fully and equally enjoying any goods, services...” In that Subsection, the word

“from” is critical because its insertion in the Subsection means that a disabled person’s encounter

with discriminatory eligibility criteria by itself does not give rise to a cause of action unless and

until that criteria prevents them “from” full and equal access to goods or services. This word,

however, is conspicuously absent from either the Statute’s Subsections or the Regulation that

govern online reservations systems. Because an ORS is a “service” of the place of public

accommodation, and failure to comply with the Regulation qualifies as “discrimination”, then

nothing more is necessary. When a disabled person encounters a non-compliant ORS, he has

been “discriminated against on the basis of disability in the full and equal enjoyment of ...



                                                  23
            Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 24 of 33




services, ..., privileges, advantages...”

        Although not an ADA case, the Supreme Court’s decision in Bates v. United States, 522

U.S. 23 (1997) is helpful. There, the Court analyzed whether a lower court could properly impose

an intent requirement into a criminal statute and held that because such a requirement was

present in a different subsection, but missing from the one at issue, that it could not be judicially

imposed. Id. at 29-30.

        Thus, the plaintiff has standing and there is no additional requirement that she actually

visit the hotel or intend to book a room. In short, the Plaintiff’s encounter with the discriminatory

website IS the injury.

        The Supreme Court’s recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016)

supports this conclusion. In Spokeo, the Supreme Court held that improper information which

violated the Fair Credit Reporting Act did not, by itself, constitute injury8. However, the Spokeo

Court specifically recognized the existence of statutes which provide that the dissemination of

improper information constitutes an injury with nothing more required. In this regard, the Spokeo

Court stated:

                Just as the common law permitted suit in such instances, the violation of a
        procedural right granted by statute can be sufficient in some circumstances to constitute
        injury in fact. In other words, a plaintiff in such a case need not allege any additional
        harm beyond the one Congress has identified. See Federal Election Comm’n v. Akins,
        524 U. S. 11, 20-25, 118 S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (confirming that a group of
        voters’ “inability to obtain information” that Congress had decided to make public is a
        sufficient injury in fact to satisfy Article III); Public Citizen v. Department of Justice, 491
        U. S. 440, 449, 109 S. Ct. 2558, 105 L. Ed. 2d 377 (1989) (holding that two advocacy


        8
        It should be noted that the Fair Credit Reporting Act was intended to protect one class of
persons, debtors, from incorrect information provided to a different class of persons, creditors.
By contrast, in anti-discrimination statutes such as the ADA, the injury occurs when the disabled
person receives the discriminatory information from the defendant.

                                                  24
           Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 25 of 33




       organizations’failure to obtain information subject to disclosure under the Federal
       Advisory Committee Act “constitutes a sufficiently distinct injury to provide standing to
       sue”).


Spokeo, 136 S.Ct. At 1549-50. In the Akins decision referenced by Spokeo, the Supreme Court,

in turn, referenced Havens Realty as follows:

                Indeed, this Court has previously held that a plaintiff suffers an "injury in fact"
       when the plaintiff fails to obtain information which must be publically disclosed pursuant
       to a statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982)
       (deprivation of information about housing availability constitutes "specific injury"
       permitting standing).

Akins, 524 U.S. at 21. Thus, the Spokeo Court neither overturned nor narrowed Havens Realty,

but instead acknowledged the body of law to which Havens Realty belongs.9 Indeed, the

concurring opinion in Spokeo expressly recognized Havens Realty. Spokeo, 136 S.Ct. at 1553

(Thomas J., Concurring). Havens Realty was also recognized in Spokeo’s dissent. 136 S.Ct. At

1555 (Ginsburg, J. Dissenting).

       In Crupar-Weinmann v. Paris Baguette Am., Inc., 861 F.3d 76 (2nd Cir. 2017, the Second

Circuit recognized that: “After all, as "Congress is well positioned to identify intangible harms

that meet minimum Article III requirements, [and] its judgment is also instructive and

important," Congress "may 'elevat[e] to the status of legally cognizable injuries concrete, de facto

injuries that were previously inadequate in law.'” Id. at 80. The Second Circuit noted that: “A

central inquiry, then, is whether the particular bare procedural violation may present a material

risk of harm to the underlying concrete interest Congress sought to protect.” Id. at 80-81. The



       9
         In Marod, passim, this Circuit Court found substantial similarities between the ADA and
the statute at issue in Havens Realty with regard to the issue of standing and the lack of any
motive requirement of the individual plaintiff.

                                                25
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 26 of 33




Crupar-Weinmann case involved the inclusion of credit card expiration dates on certain

information, which was expressly recognized as not increasing the risk of harm (of identity theft)

that the statute was intended to prevent. Id. 81-82. By contrast, the Regulation and ADA were

designed to guard against a hotel providing discriminatory information to disabled persons (or

failing to provide them with the required information). The disabled person is the member of the

protected class and, when he or she reviews a non-compliant ORS, they suffer discrimination and

are deprived of less than full and equal access to the hotel’s service. When a disabled person

reviews a hotel’s website that fails to allow for booking of accessible rooms and fails to provide

the information required about accessibility, the harm of discrimination actually occurs.

VI.    Plaintiff Has Tester Standing

       Regardless of the fact that Plaintiff intends to visit Connecticut and stay in hotels and is

deprived of her ability to make a meaningful choice for her upcoming trip, Plaintiff has tester

standing. Numerous courts, including two circuit courts, have recognized tester standing under

Title III of the ADA. Betancourt v. Ingram Park Mall, LP, 735 F.Supp.2d 587 (W.D. Tex.

2010). See also Colo. Cross-Disability Coalition v. Abercrombie & Fitch Co., 765 F.3d 1205,

1211 (10th Cir. 2014), citing Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1333-34 (11th

Cir. 2013). In Harty v. Simon Property Group, L.P., 428 Fed. Appx. 69, 71 (2nd Cir.

6/29/2011)(Summary Order), the Second Circuit recognized the ADA plaintiff’s tester status as

one reason in favor of standing.

       In Ragin, 6 F.3d 898 at 904, the Second Circuit recognized the standing of individual

testers who serve as private attorneys general (under another civil rights statute) because the

statute at issue gave standing to “any person”. Specifically, the statute made it unlawful for a


                                                 26
          Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 27 of 33




person "to represent to any person because of race . . . that any dwelling is not available for . . .

rental when such dwelling is in fact so available.” Id. (Emphasis supplied.) It was precisely the

same reason why the Eleventh Circuit in Marod held that the ADA similarly afforded tester

standing. The Marod Court held that substantially equivalent language could be found in 42

U.S.C. Section 12182(a), “No individual shall...” and 12188(a) “any person”. Marod, 733 F.3d

at 1332. As such, the disabled person’s motive is entirely irrelevant because all that matters is

whether they encountered discrimination as defined by plain words of the Statute. Marod,

passim.

       Moreover, courts have widely recognized the public policy served by plaintiffs acting as

“private attorneys general” in enforcing the provisions of the ADA. See Hensley v. Eckerhart,

461 U.S. 424, 445(1983) (“All of these civil rights laws depend heavily upon private

enforcement, and fee awards have proved an essential remedy if private citizens are to have a

meaningful opportunity to vindicate the important Congressional policies which these laws

contain.”); Bruce v. City of Gainesville, 177 F.3d 949, 952 (11th Cir. 1999); Mallory v.

Harkness, 923 F.Supp 1546, 1551 (S.D. Fla. 1996) (“Congress intended Section 1988 to prompt

plaintiffs to act as citizen enforcers or private attorneys general advancing our nation;s civil

rights objectives and vindicating the liberty of all citizens.”). “Civil rights law depends heavily

on private enforcement. Moreover, the inclusion of penalties and damages is the driving force

that facilitates voluntary compliance with the ADA.” Parr v. L & L Drive-Inn Restaurant, 96

F.Supp.2d 1065, 1082 (D. Hawaii 2000). Courts have noted: “As a result, most ADA suits are

brought by a small number of private plaintiffs who view themselves as champions of the

disabled. For the ADA to yield its promise of equal access for the disabled, it may indeed be


                                                  27
         Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 28 of 33




necessary and desirable for committed individuals to bring serial litigation advancing the time

when public accommodations will be compliant with the ADA.” Molski v. Evergreen Dynasty

Corp., 500 F.3d 1047, 1062 (9th Cir. 2007); D'Lil v. Best Western Encina Lodge & Suites, 538

F.3d 1031, 1040 (9th Cir. 2008). See also Harry MackLowe Real Estate Co., 6 F.3d at 904

(acknowledging testers right to enforce private attorney general statute).

        The result of a private attorney general statute such as the ADA is that “[i]t is not

unprecedented in this country for advocacy groups and individual members of advocacy groups

to find it necessary to file a long trail of lawsuits in federal courts to enforce legal and civil

rights.” Marod, 733 F.3d at 1326. Other courts have held that status as a tester “ plausibly

increases the likelihood that he or she will visit the [defendant’s] website again to test its ADA

compliance.” Kennedy v. Sai Ram Hotels, 2019 U.S. Dist. Lexis 80111, * 9 (M.D. Fla. 2019),

citing Gold Sun Hospitality, LLC, No. 8:18-cv-842-T-33CPT, DE 23, pp. 31-32. See also Access

4 All, Inc. v. Absecon Hospitality Corp., 2006 WL 3109966, *17 (D.N.J. 2006). Marod, 733 F.3d

at 1336 (explaining that plaintiff’s status as a tester indicated that he would revisit the property

many times and therefore tended to show a real and immediate threat of future injury).

        In cases such as Juscinska and Camacho, which discuss a plaintiff’s intent to go to the

hotel (or apply to the school), such discussion is typically in the context of the court’s assessment

of the plausibility that the plaintiff would return to the website. In other words, what reason does

the plaintiff have to revisit the hotel’s ORS? For instance, in Poschmann, 2018 U.S. Dist. Lexis

87457 at *8, the court held that returning to the website to book a room is one valid reason and

checking it for compliance with the Regulation is another.

        In Camacho, the defendant had challenged plaintiff’s intent on the basis that he had filed


                                                   28
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 29 of 33




50 similar complaints regarding the websites of schools all over the country. 2019 U.S. Dist.

Lexis 209202, at *29. The court addressed this argument as follows:

        Defendant notes that Plaintiff's allegation that he "intends to visit Defendant's school in
        the near future if he could visit their website" is present in many, if not all, of the other
        complaints. []. From this, Defendant urges the Court to intuit that this allegation, as it
        appears in the Second Amended Complaint, should be discredited.[]. If Plaintiff were to
        visit each of the schools named in those complaints, he would be forced to travel to 42
        cities across 19 states. []. Doubting the feasibility of such an expansive college tour,
        Defendant argues that the Second Amended Complaint does not adequately plead an
        intent to visit Defendant's school, and thus has not alleged facts that make it "reasonable
        to infer that Plaintiff's expressed intent to return to the Property is likely to materialize
        into fact sometime in the future." []
        Defendant's argument, built around citations to cases involving ADA claims relating to
        access to physical locations, misses the mark. Plaintiff has claimed that he was denied
        access to the Website, not Defendant's physical location itself. Thus, Defendant [sic] need
        not have shown that he intended to "return" to Defendant's school in Nashville,
        Tennessee. He is only required to have established a reasonable inference that he intended
         to return to the Website, and the Court has found that this requirement is met. To the
        extent it is relevant, Plaintiff has also clarified that he does not intend to visit each of the
        schools against which he has filed complaints. [] Rather, he wishes to visit each of the
        schools' websites, learn more about them, and then make an informed choice regarding
        which schools it would be worth visiting in person.[]. The Court does not doubt that it
        would be plausible for Plaintiff to visit the websites of all 50 schools, if they were
        accessible.

Id. at. ** 29-31. Thus, regardless of whether or not the plaintiff intends to visit the subject

property, the real issue is whether or not the plaintiff intends to visit the website.

        Critically, in the instant case, the Plaintiff has a system whereby she maintains and

constantly updates a list of all hotels she has sued regarding their online reservations systems.

Laufer Declaration, para. 8. She makes sure she visits the ORS in each case shortly after the

respective complaint is filed, then again when the defendant is required to bring its ORS into

compliance with the law. Id. Thus, she insures that she either will again suffer injury if the

defendant does not comply with the law, or will benefit if the defendant does indeed comply.



                                                  29
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 30 of 33




Under Parks, 2020 U.S. Dist. Lexis 86790, at *7, such a system of rechecking suffices to

establish standing. Moreover, not only did this Plaintiff visit the hotel’s discriminatory online

reservations system multiple times before she filed suit, but she has visited it again since filing

suit, pursuant to her system. Laufer Affid., paras. 6, 8. Thus, Laufer proved to be true to her word

when she averred that she intended to return to the websites in the near future. At least two courts

have held that post-complaint visits establish standing. See Payne v. Boston Market Corp., E.D.

N.C. 5:12-cv-354, DE 16 (3/12/13); Kennedy v. Omega Gas, 9:17-cv-80103-RLR, DE 60, pp. 6-

7 (S.D. Fla. 8/30/17).

       Essentially, tester standing neither adds nor subtracts from a disabled plaintiff’s standing.

The issue is whether or not the person has suffered injury within the plain words of the statute

and Regulation and the rules of statutory construction govern.

VII.   Plaintiff Intends To Book A Room In Connecticut Hotels

       Although it is not necessary for standing purposes, Plaintiff does indeed intend to visit

and travel throughout the State of Connecticut. Laufer Declaration, para. 5. Thus, Plaintiff will

be staying in area hotels located throughout the state when she visits. The failure of this and so

many other hotels to allow for booking of accessible rooms and failure to provide information

about whether or not the features at the hotels are even accessible makes it difficult for Plaintiff

to make meaningful choices because she is deprived of the information she needs. Id.

Accordingly, even if this Court rules that an intent to book a room is required, Plaintiff meets this

additional requirement.

VIII. Defendant’s Argument That There Is No Private Right Of Action Is Without Merit

       Defendant also argues that there is no private right of action for violations of the


                                                 30
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 31 of 33




Regulation. Defendant fails to cite even a single case which holds that there is no right of action

under the Regulation.

       42 U.S.C. Section 12188 provides: “The remedies and procedures set forth in section

2000a–3(a) of this title are the remedies and procedures this subchapter provides to any person

who is being subjected to discrimination on the basis of disability in violation of this

subchapter...” 42 U.S.C. Section 2000a-3(a) provides for the private right of injunctive relief.

       The reference in Section 12188 to “this subchapter” includes 42 U.S.C. Section 12182.

       To reiterate the Statute’s plain language, failure to comply with the Regulation constitutes

“discrimination” within the meaning of 42 U.S.C. Section 12182(b)(2)(A)(ii) and also constitutes

a failure to provide “full and equal enjoyment of” a “service”, in violation of 42 U.S.C. Section

12182(a).

       The gravamen of Defendant’s argument is that the DOJ exceeded its authority when it

promulgated the Regulation.

        Congress expressly granted the DOJ promulgation authority by virtue of 42 U.S.C.

Section 12186(b), requiring the Attorney General to issue regulations “applicable to facilities...

covered under section 12182 of this title”. In one case involving the Regulation, one Court

stated: “[b]ecause Congress explicitly authorized the Attorney General to promulgate regulations

under the ADA, the regulations must be given legislative and, hence, controlling weight unless

they are arbitrary, capricious or plainly contrary to Statute.” Kennedy v. Gold Sun Hospitality,

LLC, 8:18-cv-842, Hearing Transcript at 29-30 (M.D. Fla. 6/18/18). See also Poschmann v.

Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. LEXIS 87457 *6 (S.D. Fla. May

23, 2018)(recognizing that the DOJ promulgated the Regulation to carry out the provisions of the


                                                 31
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 32 of 33




ADA). A regulation promulgated pursuant to Congressional authority must be given controlling

weight. Chevron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 843-44 (1984).

       Defendant completely fails to provide any analysis regarding the law making powers of

the DOJ, of the fact that the Regulation must be given controlling weight. Defendant also fails to

explain how or why the host of authorities cited in this Brief have indeed enforced this

Regulation.

       Defendant and its counsel labor under a fundamental misunderstanding of the law.

Indeed, courts have recognized the private right of action for disabled persons encountering

violations of the 1991 and 2010 ADA Standards - regulations that were similarly promulgated

pursuant to the same statute. The Regulation applicable to hotel online reservations systems was

promulgated pursuant to the DOJ’s authority, is applicable to Section 12182 and is accorded a

private right of action under Section 12188. In making their arguments, Defendant and its

counsel simply failed to adequately read the Statute.

       It should be noted that similar challenges have been made with respect to a vision

impaired disabled person’s right to seek injunctive relief pursuant to the ADA in cases involving

screen software compatibility of commercial websites. Although these cases involve the same

subsections of 42 U.S.C. Section 12182, they do not involve a promulgated regulation at all.

Nonetheless, the Eleventh Circuit ruled in Haynes v. Dunkin Donuts, LLC, 741 Fed. Appx. 752

(11th Cir. 2018)(unpublished opinion), that the ADA does apply to commercial websites because

they are a service of the public accommodation. In Haynes v. Hooters of Am., LLC, 893 F.3d 781

(11th Cir. 2018), the Eleventh Circuit held that a disabled person who encounters a discriminatory

commercial website has the right to injunctive relief pursuant to the ADA. See also Robles v.


                                                32
        Case 3:20-cv-01297-VAB Document 12 Filed 10/20/20 Page 33 of 33




Domino’s Pizza, LLC, 913 F.3d 898 (9th Cir. 2019), cert. denied, 2019 U.S. Lexis 5397 (Oct. 7,

2019)(holding that the ADA applies to commercial websites with respect to discrimination

claims by vision impaired individuals).

       In short, Defendant cites no authority to support its argument, ignores the plain language

of the Statute and Regulation and completely overlooks the overwhelming case law which has

granted a private right of relief for violations of the Regulation. Moreover, Plaintiff submits that

the judicial resources of this Court would not have been wasted if Defendant’s counsel had been

more careful in copying and pasting the brief from another law firm.

IX.    Conclusion

       For the foregoing reasons, Defendant’s Motion is without merit and should be denied.


                                                      Respectfully submitted,

                                                      For the Plaintiff, Deborah Laufer

                                                      By: L. Kay Wilson, Esq. Fed. Juris ct16084
                                                      WILSON LAW LLC
                                                      2840 Main Street, #332
                                                      Glastonbury, CT 06033
                                                      (860)559-3733 Tele/Text
                                                      Wilson@KayWilsonLaw.com




                                  CERTIFICATE OF SERVICE

I hereby certify that on the 20th day of October, 2020, a copy of the foregoing Memorandum in
Opposition to the Motion to Dismiss was filed electronically and served on all counsel of record
via the Court’s CM/ECF system.


                                              /s/ L. Kay Wilson, Fed. Juris ct16084

                                                 33
